  Case 1:17-po-00927-MSN Document 24 Filed 12/19/17 Page 1 of 1 PageID# 29



                            UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINll^                       I!             ..P
                                      Alexandria Division                      -

                                                                                   C"C ! 9 201?
UNITED STATES OF AMERICA


      V.                                             Case Number 1:17-po-927

LAYLA R. BOTWINIK,
      Defendant.


                                             ORDER


       This matter came on for a hearing before the Court upon a petition and addendum filed

by the United States Probation Office, alleging that the defendant violated certain conditions of

probation.   The defendant appeared with counsel and admitted violating certain terms of

probation. Based on the defendant's admission and for reasons stated from the bench, the Court

finds the defendant in violation of the terms of probation. Accordingly, it is hereby

       ORDERED that defendant is continued on the same terms and conditions of probation as

previously imposed, including the conditions added on December 12,2017 (Dkt. # 20).


                                                                         /s/
                                                         Michael S. Nachmanoff
                                                         United States Magistrate Judge
                                                     Michael S. Nachmanoff
                                                     United States Magistrate Judge

December 19, 2017
Alexandria, Virginia
